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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  DEBORAH L. DOBRUSIN,                              )
                                                    )
                   Plaintiff,                       )
                                                    )
                                                    )   Case No. 11 C 07370
             v.                                     )
                                                    )   Hon. George W. Lindberg
  COMPASS LEXECON, LLC,                             )   Magistrate Judge Jeffrey T. Gilbert
                                                    )
                   Defendant.                       )


                                JOINT STIPULATION OF DISMISSAL


            Plaintiff Deborah L. Dobrusin and Defendant Compass Lexecon, LLC, by their

respective attorneys, hereby stipulate to the dismissal of this lawsuit and the counterclaims

asserted herein, as this matter has been amicably settled. The parties agree that the Court shall

retain jurisdiction for the purpose of enforcing the terms of the settlement agreement, should that

become necessary, through December 31, 2013.




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AGREED:                                   AGREED:

DEBORAH L. DOBRUSIN                       COMPASS LEXECON, LLC

By:           /s/ Kate Sedey              By:            /s/ Carla J. Rozycki

Kristin M. Case                           Carla J. Rozycki
Kate Sedey                                Amanda S. Amert
The Case Law Firm, LLC                    Colleen G. DeRosa
250 S. Wacker Drive, Suite 230            JENNER & BLOCK LLP
Chicago, IL 60606                         353 N. Clark Street
312-920-0400                              Chicago, IL 60654-3456
                                          312 222-9350


                                          ENTERED:

                                          By:
                                                  Magistrate Judge Jeffrey T. Gilbert

                                          Date:




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                                    CERTIFICATE OF SERVICE


            I, Carla J. Rozycki, certify that, on July 27, 2012, I caused a copy of the foregoing Joint

Stipulation of Dismissal and this Certificate of Service to be served on the following parties

through the Court’s ECF filing system:



                                  Kristin M. Case
                                  Kate Sedey
                                  The Case Law Firm, LLC
                                  250 S. Wacker Drive, Suite 230
                                  Chicago, IL 60606
                                  312-920-0400




                                                                      /s/ Carla J. Rozycki
                                                                        Carla J. Rozycki




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